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 1   Amy R. Levine (SBN 160743)
     DANNIS WOLIVER KELLEY
 2   200 California Street, Suite 400
     San Francisco, CA 94111
 3   Tel: 415.543.4111
     Email: alevine@dwkesq.com
 4
     Stephen P. Berzon (SBN 46540)
 5   Stacey M. Leyton (SBN 203827)
     ALTSHULER BERZON LLP
 6   177 Post Street, Suite 300
     San Francisco, CA 94108
 7   Tel: 415.421.7151
     Fax: 415.362.8064
 8   Email: sberzon@altber.com
            sleyton@altber.com
 9
     Kenneth D. Upton, Jr. (pro hac vice)
10   AMERICANS UNITED FOR SEPARATION
     OF CHURCH AND STATE
11   1310 L Street NW, Suite 200
     Washington, DC 20005
12   Tel: 202.466.3234
     Email: upton@au.org
13
     Attorneys for Defendants
14
                                UNITED STATES DISTRICT COURT
15
                           NORTHERN DISTRICT OF CALIFORNIA
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17    FELLOWSHIP OF CHRISTIAN                  Case No. 4:20-cv-02798-HSG
      ATHLETES, an Oklahoma
18    corporation, FELLOWSHIP OF
      CHRISTIAN ATHLETES OF                    STIPULATION FURTHER STAYING
19    PIONEER HIGH SCHOOL, an                  PROCEEDINGS; [PROPOSED]
      unincorporated association,              ORDER
20    CHARLOTTE KLARKE, and
      ELIZABETH SINCLAIR,
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                         Plaintiffs,
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         v.
23
      SAN JOSE UNIFIED SCHOOL
24    DISTRICT BOARD OF
      EDUCATION, in its official capacity,
25    NANCY ALBARRAN, in her official
      and personal capacity, HERB
26    ESPIRITU, in his official and
      personal capacity, and PETER
27    GLASSER, in his official and
      personal capacity,
28
                        Defendants.

     STIPULATION AND [PROPOSED] ORDER                                  4:20-cv-02798-HSG
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 1          Plaintiffs FELLOWSHIP OF CHRISTIAN ATHLETES, FELLOWSHIP OF
 2   CHRISTIAN ATHLETES OF PIONEER HIGH SCHOOL, CHARLOTTE KLARKE, and
 3   ELIZABETH SINCLAIR, and Defendants SAN JOSE UNIFIED SCHOOL DISTRICT
 4   BOARD OF EDUCATION, NANCY ALBARRAN, HERB ESPIRITU, and PETER
 5   GLASSER, submit the following stipulation, and ask that the Court enter this stipulation as
 6   an order of the Court.
 7                                            RECITALS
 8          1.     On September 13, 2023, the United States Court of Appeals for the Ninth
 9   Circuit issued its judgment in the appeal of this Court’s order denying a preliminary
10   injunction.
11          2.     On October 5, 2023, the mandate of the United States Court of Appeals for
12   the Ninth Circuit pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure issued
13   in this action. ECF 224.
14          3.     On October 24, 2023, this Court entered an order, pursuant to stipulation, that
15   the case be stayed until December 31, 2023 or until one of the parties notified the Court that
16   it no longer believes settlement discussions will be fruitful.
17          4.     The parties continue to discuss settlement and have agreed that it would
18   therefore be appropriate to stay this action until January 31, 2024, or so long as the parties
19   continue to agree that discussing the possibility of settlement is appropriate.
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      STIPULATION AND [PROPOSED] ORDER                                             4:20-cv-02798-HSG
        Case 4:20-cv-02798-HSG Document 228 Filed 12/14/23 Page 3 of 4




 1                                          STIPULATION
 2           Based on the above, IT IS HEREBY STIPULATED, by and between the parties to
 3   this action that this action should be stayed until January 31, 2024, or until plaintiffs or
 4   defendants notify this Court that they no longer believe settlement discussions will be
 5   fruitful.
 6           IT IS SO STIPULATED.
 7    DATED: December 13, 2023                         ALTSHULER BERZON LLP
 8

 9                                                     By: /s/ Stacey M. Leyton
                                                       STACEY M. LEYTON
10                                                     Attorney for Defendants
11
      DATED: December 13, 2023                         THE BECKET FUND FOR RELIGIOUS
12                                                     LIBERTY
13

14                                                     By: /s/ Daniel H. Blomberg
                                                       DANIEL H. BLOMBERG
15                                                     Attorney for Plaintiffs
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      STIPULATION AND [PROPOSED] ORDER                                              4:20-cv-02798-HSG
        Case 4:20-cv-02798-HSG Document 228 Filed 12/14/23 Page 4 of 4




 1                                      [PROPOSED] ORDER
 2          Having considered the Stipulation filed by the parties, and good cause appearing
 3   therefore, the Court hereby orders that the case shall be stayed until January 31, 2024, or
 4   until one of the parties notifies the Court that the stay should be lifted.
 5          PURSUANT TO STIPULATION, IT IS SO ORDERED.
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 7   DATED: December 14, 2023
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                                           THE HONORABLE HAYWOOD S. GILLIAM, JR.
                                           UNITED STATES DISTRICT JUDGE
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      STIPULATION AND [PROPOSED] ORDER                                                    4:20-cv-02798-HSG
